Case 1:25-cv-07842-RMB-SAK   Document 1-1   Filed 06/06/25   Page 1 of 37 PageID: 8




                             EXHIBIT A
Case 1:25-cv-07842-RMB-SAK   Document 1-1   Filed 06/06/25   Page 2 of 37 PageID: 9




                                        STATE OF NEW JERSEY
                                        SUPERIOR COURT CIVIL DIVISION
                                        ATLANTIC COUNTY
         Plaintiff,




                                                      COMPLAINT

         Defendants.




                                  FIRST COUNT
Case 1:25-cv-07842-RMB-SAK   Document 1-1   Filed 06/06/25   Page 3 of 37 PageID: 10
Case 1:25-cv-07842-RMB-SAK   Document 1-1    Filed 06/06/25   Page 4 of 37 PageID: 11




                                 respondeat superior




        WHEREFORE




                               JURY DEMAND
Case 1:25-cv-07842-RMB-SAK   Document 1-1   Filed 06/06/25   Page 5 of 37 PageID: 12




                               CERTIFICATION




               DEMAND FOR ANSWERS TO INTERROGATORIES




                             NOTICE TO PRODUCE
Case 1:25-cv-07842-RMB-SAK   Document 1-1   Filed 06/06/25   Page 6 of 37 PageID: 13




                      DESIGNATION OF TRIAL COUNSEL




                                       Teddy C. Strickland, Jr.
Case 1:25-cv-07842-RMB-SAK                       Document 1-1             Filed 06/06/25            Page 7 of 37 PageID: 14




  Case Details: ATLANTIC | Civil Part Docket# L-000857-24

 Case Caption:                                                      Case Type:
                                                                    Document Type:
 Case Initiation Date:                                              Jury Demand:
 Attorney Name:                                                     Is this a professional malpractice case?
 Firm Name:                                                         Related cases pending:
 Address:                                                           If yes, list docket numbers:
                                                                    Do you anticipate adding any parties (arising out of same
 Phone:                                                             transaction or occurrence)?
 Name of Party:                                                     Does this case involve claims related to COVID-19? NO
 Name of Defendant’s Primary Insurance Company
                                                                    Are sexual abuse claims alleged by: THOMAS DERESSA? NO



                                                                    Are sexual abuse claims alleged by: ERMIAS HAILE? NO



       THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                         CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




  Do parties have a current, past, or recurrent relationship?
  If yes, is that relationship:
  Does the statute governing this case provide for payment of fees by the losing party?
  Use this space to alert the court to any special case characteristics that may warrant individual
  management or accelerated disposition:


  Do you or your client need any disability accommodations?
          If yes, please identify the requested accommodation:


  Will an interpreter be needed?
           If yes, for what language:


  Please check off each applicable category: Putative Class Action?                    Title 59?       Consumer Fraud?
  Medical Debt Claim?




                                                                                                                 Rule
Case 1:25-cv-07842-RMB-SAK   Document 1-1   Filed 06/06/25   Page 8 of 37 PageID: 15
Case 1:25-cv-07842-RMB-SAK   Document 1-1   Filed 06/06/25   Page 9 of 37 PageID: 16
Case 1:25-cv-07842-RMB-SAK   Document 1-1   Filed 06/06/25   Page 10 of 37 PageID:
                                     17
Case 1:25-cv-07842-RMB-SAK          Document 1-1        Filed 06/06/25    Page 11 of 37 PageID:
                                            18



 REILLY, MCDEVITT, & HENRICH, P.C.
 BY: DAMIAN S. JACKSON, ESQUIRE
 IDENTIFICATION NO.: 359692020
 CHARLES HOYT III, ESQUIRE
 IDENTIFICATION NO.: 383942021
 3 EXECUTIVE CAMPUS
 SUITE 310
 CHERRY HILL, NEW JERSEY 08002
 (856) 317-7180
 ATTORNEYS FOR DEFENDANT, HARRAH’S
 ATLANTIC CITY OPERATING COMPANY, LLC
 D/B/A HARRAH’S RESORT ATLANTIC CITY

      THOMAS DERESSA; ERMIAS HAILE,
                                                           SUPERIOR COURT OF NEW
                                     PLAINTIFF,            JERSEY
                      vs.                                  LAW DIVISION – ATLANTIC
                                                           COUNTY
      HARRAH’S ATLANTIC CITY
      OPERATING COMPANY, LLC D/B/A                         DOCKET NO. ATL-L-000857-24
      HARRAH’S RESORT ATLANTIC CITY;
      HADER RIVAR, JR.; JOHN DOES 1-10;                    Civil Action
      ABC ENTITY (FICTITIOUS ENTITY);
      JANE DOES 1-10 (FICTITIOUS ENTITY);                  DEFENDANT, HARRAH’S
      ABC PARTNERSHIPS 1-10(FICTITIOUS                     ATLANTIC CITY OPERATING
      ENTITY); XYZ CORPORATIONS 1-10                       COMPANY, LLC D/B/A HARRAH’S
      AND ABC CORP. (1-10) (FICTITIOUS                     RESORT ATLANTIC CITY’S
      ENTITIES);                                           ANSWER TO PLAINTIFFS’
                                                           COMPLAINT
                                      DEFENDANTS.


           Defendant, Harrah’s Atlantic City Operating Company. LLC d/b/a Harrah’s Resort

    Atlantic City, (hereinafter named “Answering Defendant”) denies each and every averment

    of Plaintiffs’ Complaint and states more fully as follows:

                                             FIRST COUNT

           1.      The contents of this Paragraph do not contain an allegation that warrants a

    response from Answering Defendants. To the extent that the paragraph suggests any

    wrongdoing on behalf of Answering Defendant, it is denied in its entirety as a conclusion
Case 1:25-cv-07842-RMB-SAK           Document 1-1       Filed 06/06/25      Page 12 of 37 PageID:
                                             19



    of law.

              2.   Denied. The averments of this paragraph constitute conclusions of law to

    which no response is required under the applicable Rules of Civil Procedure and they are

    therefore deemed denied. Strict proof thereof is demanded at the time of trial.

              3.   Answering Defendant is without sufficient information or knowledge to

    form a belief as to the truth of the averments contained in this paragraph. Strict proof

    thereof is demanded at the time of trial.

              4.   The averments of this paragraph constitute a conclusion of law to which no

    response is required under the applicable Rules of Civil Procedure. To the extent a response

    is required, denied. To the extent that the averment implies any wrongdoing on the part of

    Answering Defendant, it is denied.

              5.   Denied. The averments of this paragraph constitute conclusions of law to

    which no response is required under the applicable Rules of Civil Procedure and they are

    therefore deemed denied. Strict proof thereof is demanded at the time of trial.

              6.   The averments of this paragraph constitute a conclusion of law to which no

    response is required under the applicable Rules of Civil Procedure. To the extent a response

    is required, denied. To the extent that the averment implies any wrongdoing on the part of

    Answering Defendant, it is denied.

              7.   The averments of this paragraph constitute a conclusion of law to which no

    response is required under the applicable Rules of Civil Procedure. To the extent a response

    is required, denied. To the extent that the averment implies any wrongdoing on the part of

    Answering Defendant, it is denied.

              8.   Denied. The averments of this paragraph constitute conclusions of law to
Case 1:25-cv-07842-RMB-SAK          Document 1-1        Filed 06/06/25      Page 13 of 37 PageID:
                                            20



    which no response is required under the applicable Rules of Civil Procedure and they are

    therefore deemed denied. Strict proof thereof is demanded at the time of trial.

           9.      Denied. The averments of this paragraph constitute conclusions of law to

    which no response is required under the applicable Rules of Civil Procedure and they are

    therefore deemed denied. Strict proof thereof is demanded at the time of trial.

           10.     Denied. The averments of this paragraph constitute conclusions of law to

    which no response is required under the applicable Rules of Civil Procedure and they are

    therefore deemed denied. Strict proof thereof is demanded at the time of trial.

           11.     Denied. The averments of this paragraph constitute conclusions of law to

    which no response is required under the applicable Rules of Civil Procedure and they are

    therefore deemed denied. Strict proof thereof is demanded at the time of trial.

           12.     Denied. The averments of this paragraph constitute conclusions of law to

    which no response is required under the applicable Rules of Civil Procedure and they are

    therefore deemed denied. Strict proof thereof is demanded at the time of trial.

           13.     Denied. The averments of this paragraph constitute conclusions of law to

    which no response is required under the applicable Rules of Civil Procedure and they are

    therefore deemed denied. Strict proof thereof is demanded at the time of trial.

           WHEREFORE, Answering Defendant demands judgment against Plaintiffs,

    dismissing the Complaint, together with costs and attorneys’ fees.

                                    SEPARATE DEFENSES

                                FIRST SEPARATE DEFENSE

           Answering Defendant was not negligent.

                               SECOND SEPARATE DEFENSE
Case 1:25-cv-07842-RMB-SAK             Document 1-1       Filed 06/06/25       Page 14 of 37 PageID:
                                               21



              Answering Defendant discharged each and every obligation which they owed to the

    Plaintiffs and otherwise the said Defendant owed no duty to the Plaintiffs.

                                  THIRD SEPARATE DEFENSE

              The alleged injuries were not the proximate result of the acts or omissions of

    Answering Defendant.

                                 FOURTH SEPARATE DEFENSE

              Plaintiffs are barred from recovery by their negligence and/or contributory

    negligence at the time described, said negligence being comparatively greater than the

    negligence of Answering Defendant.

                                  FIFTH SEPARATE DEFENSE

              The negligence of Answering Defendant, if any, was the result of the acts or

    omissions of someone other than Answering Defendant and not under their control.

                                  SIXTH SEPARATE DEFENSE

              The Complaint fails to state a cause of action upon which relief can be granted.

                                SEVENTH SEPARATE DEFENSE

              The damages alleged in the Complaint are barred by the doctrine of entire

    controversy.

                                 EIGHTH SEPARATE DEFENSE

              Plaintiffs are barred from recovery by avoidable consequences.

                                  NINTH SEPARATE DEFENSE

              Plaintiffs are barred from recovery by the applicable statute of limitations and/or

    laches.

                                  TENTH SEPARATE DEFENSE
Case 1:25-cv-07842-RMB-SAK           Document 1-1        Filed 06/06/25     Page 15 of 37 PageID:
                                             22



           Answering Defendant is not liable to the Plaintiffs due to the fact that the alleged

    injuries and damages were the result of superseding and/or intervening acts of others over

    whom Answering Defendant had no control.

                                ELEVENTH SEPARATE DEFENSE

           Answering Defendant reserves the right to move to dismiss the Complaint due to

    insufficiency of process.

                                TWELFTH SEPARATE DEFENSE

           Any injuries or damages suffered by the Plaintiffs were the sole result of the

    negligence of third parties over whom Answering Defendant had neither control nor the

    duty to control or warn.

                              THIRTEENTH SEPARATE DEFENSE

           Plaintiffs’ claims are barred because of improper service of process.

                              FOURTEENTH SEPARATE DEFENSE

           Plaintiffs’ claims are barred because this Court lacks jurisdiction over the subject

    matter of this lawsuit.

                                FIFTEENTH SEPARATE DEFENSE

           Plaintiffs’ claims are barred because Answering Defendant did not create and/or

    maintain any condition which allegedly caused Plaintiffs’ accident.

                                SIXTEENTH SEPARATE DEFENSE

           Plaintiffs have failed to diligently mitigate their damages and, therefore, is barred

    from receiving all or part of the relief requested in the Complaint.

                              SEVENTEENTH SEPARATE DEFENSE

           Answering Defendant owe no duty to Plaintiffs.
Case 1:25-cv-07842-RMB-SAK             Document 1-1          Filed 06/06/25   Page 16 of 37 PageID:
                                               23



                              EIGHTEENTH SEPARATE DEFENSE

              Plaintiffs are guilty of comparative negligence of a greater degree than the

    negligence of Answering Defendant, which is denied.

                              NINETEENTH SEPARATE DEFENSE

              Plaintiffs intentionally exposed themselves and/or their property to known hazards

    with foreknowledge of the probable results thereby barring or limiting Plaintiffs’ claim.

                               TWENTIETH SEPARATE DEFENSE

              The doctrines of res judicata and collateral estoppel are applicable to Plaintiffs’

    claims.

                             TWENTY-FIRST SEPARATE DEFENSE

              Plaintiffs’ claimed damages are so remote from the alleged tortious act that they

    should be barred.

                           TWENTY-SECOND SEPARATE DEFENSE

              Plaintiffs’ claims require expert testimony.

                            TWENTY-THIRD SEPARATE DEFENSE

              At all times and places mentioned in the Complaint, Answering Defendant

    complied with all applicable laws, regulations, codes, ordinances, and standards.

                           TWENTY-FOURTH SEPARATE DEFENSE

              Plaintiffs’ damages are so speculative that they are inadmissible and the claim upon

    which they are based cannot be submitted to a jury.

                             TWENTY-FIFTH SEPARATE DEFENSE
Case 1:25-cv-07842-RMB-SAK           Document 1-1      Filed 06/06/25      Page 17 of 37 PageID:
                                             24



           Answering Defendant reserves the right to amend their answer and to assert

    additional answers and/or supplements, alter or change this answer upon revelation of more

    definite facts during and/or upon the completion of further discovery and investigations.

                          TWENTY-SIXTH SEPARATE DEFENSE

           Answering Defendant asserts that the Plaintiffs have filed claims within the

    Complaint that are frivolous in nature and violate the Frivolous Claim Act at NJSA 2A:15-

    59.1 and Answering Defendant hereby place Plaintiffs and counsel for plaintiffs upon

    notice of this allegation and Answering Defendant’s intent to seek all of Answering

    Defendant’s legal fees, costs and expenses from Plaintiffs and counsel from Plaintiffs at

    the conclusion of this lawsuit, pursuant to law.

                        TWENTY-SEVENTH SEPARATE DEFENSE

           The alleged damages sustained by Plaintiffs were the proximate result of acts

    and/or omissions of parties over which Answering Defendant exercised no control.

                         TWENTY-EIGHTH SEPARATE DEFENSE

           Any damages or injuries which may have been sustained by Plaintiffs were the

    result of an unavoidable accident insofar as the Answering Defendant is concerned.

                          TWENTY-NINTH SEPARATE DEFENSE

           Negligence, if any, on the part of Answering Defendant was not the proximate

    cause of any damages or injuries which may have been sustained by Plaintiffs.

                                 THIRTIETH SEPARATE DEFENSE

           Answering Defendant did not breach any security or industry standards.

                               THIRTY FIRST SEPARATE DEFENSE
Case 1:25-cv-07842-RMB-SAK           Document 1-1        Filed 06/06/25       Page 18 of 37 PageID:
                                             25



            Based on Plaintiffs’ conduct, Answering Defendant acted reasonably against the

                    use of unlawful force by Plaintiffs on the present occasion.

                              THIRTY SECOND SEPARATE DEFENSE

           Based on Plaintiffs’ conduct, Answering Defendant acted reasonably to prevent or

       terminate what Answering Defendant reasonably believed to be the commission or

              attempted commission of a criminal trespass in or upon the premises.

                               THIRTY THIRD SEPARATE DEFENSE

             Based on Plaintiffs’ conduct, Answering Defendant had a reasonable belief that

    third persons were subject to harm, that a use of force was immediately necessary and the

                  amount of force used was appropriate under the circumstances.



     CROSSCLAIM FOR CONTRIBUTION AGAINST CO-DEFENDANT, HADER

                                            RIVAR, JR.

           Answering Defendant demands judgment against co-defendant, Hader Rivar, Jr.

    and in the alternative, for a proportionate share of any sums that may be adjudged against

    Answering Defendant pursuant to the Joint Tortfeasors Contribution Act, N.J.S.A.

    2A:53A and the Comparative Negligence Act, N.J.S.A. 2A:15-5, et. seq.

           WHEREFORE, these defendants demand judgment against the co-defendant,

    Hader Rivar, Jr. jointly and/or severally, for a proportionate share of any sums that may

    be adjudged against these defendants pursuant to the Joint Tortfeasors Contribution Act,

    N.J.S.A. 2A:53A and the Comparative Negligence Act, N.J.S.A. 2A:15-5, et seq. together

    with interest, fees, costs, and whatever other relief this Court deems just.
Case 1:25-cv-07842-RMB-SAK           Document 1-1        Filed 06/06/25      Page 19 of 37 PageID:
                                             26



        CROSSCLAIM FOR INDEMNIFICATION AGAINST CO-DEFENDANT,

                                       HADER RIVAR, JR.

           While denying liability to the Plaintiffs for the damages alleged, if judgment is

    recovered by the Plaintiffs against Answering Defendant, it is hereby asserted that

    Answering Defendant’s negligence was not morally culpable, but was merely

    constructive, technical, imputed or vicarious, and that the damages to the Plaintiffs arose

    through the direct and primary negligence of the co-defendant, Hader Rivar, Jr. or

    through breach of contract and Answering Defendant therefore demands judgment of

    indemnification from the co-defendant, Hader Rivar, Jr. for all sums as may be found due

    against Answering Defendant in favor of the Plaintiffs.

           WHEREFORE, Answering Defendant demand judgment against co-defendant,

    Hader Rivar, Jr. jointly and/or severally, of common law and contractual indemnification

    for all sums as may be found due against Answering Defendant in favor of the Plaintiffs,

    together with interest, fees, costs, and whatever other relief this Court deems just.

      CROSSCLAIM FOR CONTRIBUTION AGAINST CO-DEFENDANT, JOHN

                                            DOES 1-10

           Answering Defendant demands judgment against co-defendant, John Does 1-10,

    and in the alternative, for a proportionate share of any sums that may be adjudged against

    Answering Defendant pursuant to the Joint Tortfeasors Contribution Act, N.J.S.A.

    2A:53A and the Comparative Negligence Act, N.J.S.A. 2A:15-5, et. seq.

           WHEREFORE, these defendants demand judgment against the co-defendant,

    John Does 1-10, jointly and/or severally, for a proportionate share of any sums that may

    be adjudged against these defendants pursuant to the Joint Tortfeasors Contribution Act,
Case 1:25-cv-07842-RMB-SAK           Document 1-1        Filed 06/06/25       Page 20 of 37 PageID:
                                             27



    N.J.S.A. 2A:53A and the Comparative Negligence Act, N.J.S.A. 2A:15-5, et seq. together

    with interest, fees, costs, and whatever other relief this Court deems just.

         CROSSCLAIM FOR INDEMNIFICATION AGAINST JOHN DOES 1-10

           While denying liability to the Plaintiffs for the damages alleged, if judgment is

    recovered by the Plaintiffs against Answering Defendant, it is hereby asserted that

    Answering Defendant’s negligence was not morally culpable, but was merely

    constructive, technical, imputed or vicarious, and that the damages to the Plaintiffs arose

    through the direct and primary negligence of the co-defendant, John Does 1-10 or

    through breach of contract and Answering Defendant therefore demands judgment of

    indemnification from the co-defendant, John Does 1-10 for all sums as may be found due

    against Answering Defendant in favor of the Plaintiffs.

           WHEREFORE, Answering Defendant demand judgments against co-defendant,

    John Does 1-10, jointly and/or severally, of common law and contractual indemnification

    for all sums as may be found due against Answering Defendant in favor of the Plaintiffs,

    together with interest, fees, costs, and whatever other relief this Court deems just.

                                 ANSWER TO CROSSCLAIMS

           Answering Defendant hereby denies each and every allegation contained in any

    and all crossclaims asserted against Answering Defendant or to be asserted against

    Answering Defendant. Answering Defendant was guilty of no negligence, which was a

    proximate cause of the injuries and damages alleged. Answering Defendant hereby

    reserves the right to interpose such other defenses and objections as continuing discovery

    may disclose.
Case 1:25-cv-07842-RMB-SAK           Document 1-1       Filed 06/06/25     Page 21 of 37 PageID:
                                             28



                                 DEMAND FOR JURY TRIAL

           Answering Defendant demands a trial by jury on all issues involved herein.

                  NOTICE PURSUANT TO RULES 1:51(A) AND 4:17-4(C)

           Take notice that the undersigned attorney, counsel for Answering Defendant, does

    hereby demand pursuant to Rules 1:51(a) and 4:17-4(c) that each party herein serve

    pleadings and interrogatories and receiving answers thereto, serve copies of all such

    pleadings and answered interrogatories received from any party, including any documents,

    papers and other materials referred to therein, upon the undersigned attorney and take

    notice that this is a continuing demand.

                        DEMAND FOR FORM INTERROGATORIES

           Answering Defendant hereby requests Plaintiffs answer all questions in Form-A

    Uniform Interrogatories found in Appendix II of the rules governing the courts of the State

    of New Jersey within the time provided in accordance with R. 4:17-4.           Answering

    Defendant further requests that all parties supply copies of any and all answers to

    interrogatories which are therefore provided to any and all other parties in this action.

    Please note this is a continuing request.

                          DEMAND FOR INSURANCE COVERAGE

           Please take notice that the Answering Defendant hereby requests that Plaintiffs

    shall furnish information concerning the existence and contents of any and all insurance

    agreements under which any insurance company may or shall be liable to satisfy all or part

    of any judgment which may be entered in this action, or to indemnify, or reimburse for

    payments made to satisfy the judgment, or for the payment of any medical fees or other

    reimbursements to any party to this action for injuries and damages alleged to have been
Case 1:25-cv-07842-RMB-SAK           Document 1-1        Filed 06/06/25       Page 22 of 37 PageID:
                                             29



    sustained herein This information shall include, name and address of insurance company;

    policy number; effective dates of the policy; policy limits and types of coverage available

    there under; separate claim number (if applicable); and legible copy of declaration page.

    This demand is made pursuant to R. 4:10-2 and 4:17-1 et seq.

                            DESIGNATION OF TRIAL COUNSEL

           Damian S. Jackson, Esquire is hereby designated as trial counsel on behalf of

    Answering Defendant at the trial of this action.

                        CERTIFICATION PURSUANT TO RULE 4:6

           I hereby certify that a copy of this Answer to Plaintiffs’ Complaint has been served

    and filed within the time prescribed by Rule 4:6.

                         CERTIFICATION PURSUANT TO R. 4:5-1

           Following my initial review of this matter, it appears that there are no other actions

    or arbitrations related to this suit pending or presently contemplated.

           I certify that the foregoing statements made by me are true and accurate and I am

    aware that if any of the foregoing statements are willfully false, I am subject to punishment.


                                           REILLY, MCDEVITT & HENRICH, P.C.
                                           By:   Charles Hoyt
                                                   Damian S. Jackson
                                                   Charles Hoyt III
                                                   Attorneys for Defendant
                                                   Harrah’s Atlantic City Operating Company,
                                                   LLC, d/b/a Harrah’s Resort Atlantic City
    Dated: July 18, 2024
Case 1:25-cv-07842-RMB-SAK          Document 1-1        Filed 06/06/25      Page 23 of 37 PageID:
                                            30



                           CERTIFICATION PURSUANT TO R. 4:6

           I hereby certify that a copy of this Answer to Plaintiffs’ Complaint has been served

    and filed within the time prescribed by R. 4:6.


                                          REILLY, MCDEVITT & HENRICH, P.C.

                                          By:   Charles Hoyt
                                                 Damian S. Jackson
                                                 Charles Hoyt III
                                                 Attorneys for Defendant
                                                 Harrah’s Atlantic City Operating Company,
                                                 LLC, d/b/a Harrah’s Resort Atlantic City

    Dated: July 18, 2024
Case 1:25-cv-07842-RMB-SAK           Document 1-1         Filed 06/06/25   Page 24 of 37 PageID:
                                             31




                                     PROOF OF MAILING

           I, Damian S. Jackson, Esquire, attorney for Defendant Harrah’s Atlantic City

    Operating Company, LLC d/b/a Harrah’s Resort Atlantic City, do hereby certify that I

    caused the original of the within Answer to Plaintiffs’ Complaint to be filed with the

    Superior Court of New Jersey, Atlantic County. I also certify that copies of the within

    Answer and this Certificate of Service were served upon the following parties/counsel by

    electronic filing and first-class regular mail, postage prepaid:


                                       Counsel for Plaintiffs
                                  Teddy C. Strickland, Jr., Esquire
                                     Pender & Strickland, LLC
                                  1601 Atlantic Avenue, Suite 700
                                  Atlantic City, New Jersey 08401

                                        Hader G. Rivas, Jr.
                                      5 Country Club Drive
                                   Northfield, New Jersey 08225

                                           REILLY, MCDEVITT & HENRICH, P.C.

                                           By:   Charles Hoyt
                                                   Damian S. Jackson
                                                   Charles Hoyt III
                                                   Attorneys for Defendant
                                                   Harrah’s Atlantic City Operating Company,
                                                   LLC, d/b/a Harrah’s Resort Atlantic City
    Dated: July 18, 2024
Case 1:25-cv-07842-RMB-SAK   Document 1-1   Filed 06/06/25   Page 25 of 37 PageID:
                                     32
Case 1:25-cv-07842-RMB-SAK                        Document 1-1              Filed 06/06/25           Page 26 of 37 PageID:
                                                          33




 Case Details: ATLANTIC | Civil Part Docket# L-000857-24

 Case Caption:                                                      Case Type:
                                                                    Document Type:
 Case Initiation Date:                                              Jury Demand:
 Attorney Name:                                                     Is this a professional malpractice case?
 Firm Name:                                                         Related cases pending:
 Address:                                                           If yes, list docket numbers:
                                                                    Do you anticipate adding any parties (arising out of same
 Phone:                                                             transaction or occurrence)?
 Name of Party:                                                     Does this case involve claims related to COVID-19? NO


 Name of Defendant’s Primary Insurance Company                      Are sexual abuse claims alleged by: THOMAS DERESSA? NO



                                                                    Are sexual abuse claims alleged by: ERMIAS HAILE? NO



       THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                         CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship?
 If yes, is that relationship:
 Does the statute governing this case provide for payment of fees by the losing party?
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations?
         If yes, please identify the requested accommodation:


 Will an interpreter be needed?
          If yes, for what language:


 Please check off each applicable category: Putative Class Action?                     Title 59?       Consumer Fraud?
 Medical Debt Claim?




                                                                                                                 Rule
Case 1:25-cv-07842-RMB-SAK   Document 1-1   Filed 06/06/25   Page 27 of 37 PageID:
                                     34
Case 1:25-cv-07842-RMB-SAK           Document 1-1          Filed 06/06/25       Page 28 of 37 PageID:
                                             35
                             REILLY, MCDEVITT & HENRICH, P.C.
                                         ATTORNEYS AT LAW
PHILADELPHIA OFFICE                                                                       DELAWARE OFFICE
                                             SUITE 310
   WIDENER BUILDING                                                                         1013 CENTRE ROAD
        SUITE 410                       3 EXECUTIVE CAMPUS                                       SUITE 210
 ONE SOUTH PENN SQUARE                  CHERRY HILL, NJ 08002                             WILMINGTON, DE 19805
 PHILADELPHIA, PA 19107                       ________                                        (302) 777-1700
      (215) 972-5200                                                                       FAX: (302) 777-1705
   FAX: (215) 972-0405                      (856) 317-7180
                                          FAX: (856) 317-7188
                                           www.rmh-law.com

                                                                                              Charles Hoyt, III
                                                                                        Member of the NJ and PA Bar
                                                                                            choyt@rmh-law.com


                                        November 25, 2024

  VIA EMAIL
  Teddy C. Strickland, Jr., Esq.
  Pender & Strickland, LLC
  1601 Atlantic Avenue, Suite 700
  Atlantic City, NJ 08401

  RE:       Thomas Deressa, et al. v. Harrah’s AC Operating, LLC, et al.
            Docket No.: ATL-L-857-24

  Dear Mr. Strickland:

          Reference is made to the above captioned matter. Our firm represents Harrah’s Atlantic
  City Operating Company LLC d/b/a Harrah’s Resort Atlantic City. Pursuant to New Jersey Court
  Rule 4:5-2, please provide a written statement of the amount of damages claimed, within the
  statutory five-day period.

         Should you have any questions or comments, please do not hesitate to contact the
  undersigned.

                                                     Very truly yours,

                                                     REILLY, MCDEVITT & HENRICH, P.C.


                                                     By:        /s/Charles Hoyt
                                                                 Charles Hoyt, III, Esquire

  CH/eko
Case 1:25-cv-07842-RMB-SAK   Document 1-1   Filed 06/06/25   Page 29 of 37 PageID:
                                     36
Case 1:25-cv-07842-RMB-SAK              Document 1-1           Filed 06/06/25      Page 30 of 37 PageID:
                                                37
                               REILLY, MCDEVITT & HENRICH, P.C.
                                             ATTORNEYS AT LAW
PHILADELPHIA OFFICE                                                                         DELAWARE OFFICE
                                                 SUITE 310
   WIDENER BUILDING                                                                           1013 CENTRE ROAD
        SUITE 410                           3 EXECUTIVE CAMPUS                                     SUITE 210
 ONE SOUTH PENN SQUARE                      CHERRY HILL, NJ 08002                           WILMINGTON, DE 19805
 PHILADELPHIA, PA 19107                           ________                                      (302) 777-1700
      (215) 972-5200                                                                         FAX: (302) 777-1705
   FAX: (215) 972-0405                          (856) 317-7180
                                              FAX: (856) 317-7188
                                               www.rmh-law.com


                                                                                                  Damian S. Jackson
                                                                                          Member of the NJ and PA Bar
                                                                                             djackson@rmh-law.com



                                            December 2, 2024

  VIA EMAIL
  Teddy C. Strickland, Jr., Esq.
  Pender & Strickland, LLC
  1601 Atlantic Avenue, Suite 700
  Atlantic City, NJ 08401
  TSTRICKLAND@PENDERSTRICKLAND.COM; dfilling@penderstrickland.com


  RE:       Thomas Deressa, et al. v. Harrah’s AC Operating, LLC, et al.
            Docket No.: ATL-L-857-24

  Dear Mr. Strickland:

          A review of my file revealed that on November 25, 2024, along with Defendant, Harrah’s
  Atlantic City Operating Company LLC d/b/a Harrah’s Resort Atlantic City’s Answer to
  Plaintiffs’ Complaint, demand for statement of damages was propounded upon your office.
  Please provide it within the next ten (10) days.

         Please consider this as a good faith attempt in order to resolve the issues raised without
  the necessity of filing a motion, pursuant to the provisions of Rule 1:6-2(c).

            Thank you for your attention to this matter.



                                                         Very truly yours,

                                                         REILLY, MCDEVITT & HENRICH, P.C.


                                                         By:        /s/ Damian S. Jackson
                                                                    Damian S. Jackson, Esquire
  DSJ\eko
Case 1:25-cv-07842-RMB-SAK   Document 1-1   Filed 06/06/25   Page 31 of 37 PageID:
                                     38
Case 1:25-cv-07842-RMB-SAK   Document 1-1   Filed 06/06/25   Page 32 of 37 PageID:
                                     39
Case 1:25-cv-07842-RMB-SAK   Document 1-1   Filed 06/06/25   Page 33 of 37 PageID:
                                     40
Case 1:25-cv-07842-RMB-SAK             Document 1-1         Filed 06/06/25       Page 34 of 37 PageID:
                                               41



 Teddy C. Strickland, Jr., Esquire, ID#009712011
 PENDER & STRICKLAND, LLC
 1601 Atlantic Avenue, Suite 700
 Atlantic City, New Jersey 08401
 (609) 710-1601
 Attorney for Plaintiffs

                                                        STATE OF NEW JERSEY
   THOMAS DERESSA; ERMIAS HAILE,                        SUPERIOR COURT CIVIL DIVISION
                                                        ATLANTIC COUNTY
          Plaintiff,

   v.
   HARRAH’S ATLANTIC CITY                               Docket No.: ATL-L-857-24
   OPERATING COMPANY, LLC D/B/A
   HARRAH’S RESORT ATLANTIC CITY;
   HADER RIVAR, JR.; JOHN DOES 1-10
   (FICTITIOUS ENTITY); ABC ENTITY                             STATEMENT OF DAMAGES
   (FICTITIOUS ENTITY); JANE DOES 1-10
   (FICTITIOUS ENTITY); ABC
   PARTNERSHIPS 1-10; XYZ
   CORPORATIONS 1-10 AND ABC CORP.
   (1-10) (FICTITIOUS ENTITY);

          Defendants.


 COUNSEL:


        Plaintiff responds to Defendant's Request for Statement of Damages as follows:


                                        $350,000.00


        Please be advised that this response shall not in any way limit the ability of Plaintiff to recover

 damages above and beyond the stated amount. See Lang v. Baker, 101 N.J. 147 (1985).


                                                 PENDER & STRICKLAND, LLC

                                        By:         Teddy C. Strickland, Jr.
                                                 Teddy C. Strickland, Jr., Esquire
                                                 Attorney for plaintiff
 Dated: 05/09/25
Case 1:25-cv-07842-RMB-SAK   Document 1-1   Filed 06/06/25   Page 35 of 37 PageID:
                                     42




                             EXHIBIT H
Case 1:25-cv-07842-RMB-SAK            Document 1-1        Filed 06/06/25      Page 36 of 37 PageID:
                                              43



  REILLY, MCDEVITT, & HENRICH, P.C.
  BY: DAMIAN S. JACKSON, ESQUIRE
  IDENTIFICATION NO.: 359692020
  BY: CAROLYN T. GRIFFIN, ESQUIRE
  IDENTIFICATION NO.: 328652020
  3 EXECUTIVE CAMPUS, SUITE 310
  CHERRY HILL, NEW JERSEY 08002
  PHONE: (856) 317-7180
  ATTORNEYS FOR DEFENDANT,
  HARRAH’S ATLANTIC CITY OPERATING
  COMPANY, LLC D/B/A HARRAH’S RESORT
  ATLANTIC CITY
   THOMAS DERESSA AND ERMIAS HAILE,                        SUPERIOR COURT OF NEW JERSEY
                                                           LAW DIVISION
                                   PLAINTIFFS,             ATLANTIC COUNTY
                   vs.
                                                           DOCKET NO. ATL-L-0857-24
   HARRAH’S ATLANTIC CITY OPERATING
   COMPANY, LLC D/B/A HARRAH’S
   RESORT ATLANTIC CITY; HADER RIVER,                      PRAECIPE TO FILE NOTICE OF
   JR.; JOHN DOES 1-10; ABC ENTITY                         REMOVAL
   (FICTITIOUS ENTITY); JANE DOES 1-10
   (FICTITIOUS ENTITY); ABC
   PARTNERSHIPS 1-10(FICTITIOUS
   ENTITY); XYZ CORPORATIONS 1-10 AND
   ABC CORP. (1-10) (FICTITIOUS ENTITIES);

                                  DEFENDANTS.


 TO:    Teddy C. Strickland, Esquire                   Clerk, Law Division
        Pender & Strickland, LLC                       Atlantic County Superior Court
        1601 Atlantic Ave, Suite 700                   1201 Bacharach Boulevard
        Atlantic City, NJ 08401                        Atlantic City, NJ
                                                       New Jersey 08401

        PLEASE TAKE NOTICE that pursuant to 28 U.S.C. Sect. 1446, Harrah’s Atlantic City

 Operating Company, LLC d/b/a Harrah’s Resort Atlantic has, on June 6, 2025, filed its Notice of

 Removal, a copy of which is attached hereto, in the office of the Clerk, United States District Court

 for the District of New Jersey, Camden Vicinage, Mitchell H. Cohen Building & U.S. Courthouse,

 4th & Cooper Streets, Camden, New Jersey 08101.
Case 1:25-cv-07842-RMB-SAK   Document 1-1   Filed 06/06/25   Page 37 of 37 PageID:
                                     44



                                   Respectfully submitted,

                                   REILLY, MCDEVITT & HENRICH, P.C.

 Dated: June 6, 2025               By: /s/ Damian S. Jackson
                                       Damian S. Jackson, Esq.
                                       Carolyn T. Griffin, Esq.
                                       Attorneys for Defendant, Harrah’s Atlantic
                                       City Operating Company, LLC d/b/a Harrah’s
                                       Resort Atlantic City
